                            Case 18-15891-LMI               Doc 85       Filed 08/19/18          Page 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15891-LMI
Maurice Symonette                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: cgrimm                       Page 1 of 1                          Date Rcvd: Aug 17, 2018
                                      Form ID: pdf004                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 19, 2018.
db             +Maurice Symonette,   PO Box 222692,   Hollywood, FL 33022-2692

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 19, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 17, 2018 at the address(es) listed below:
              Jeffrey S Fraser   on behalf of Creditor   HSBC Bank USA, National Association as Trustee for
               Nomura Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 bkfl@albertellilaw.com,
               anhsalaw@infoex.com
              Joel L Tabas   JLT@tfsmlaw.com,
               kborrego@tabassoloff.com;jtabas@ecf.epiqsystems.com;jcepero@tabassoloff.com;lshortino@tabassoloff
               .com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 3
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      ORDERED in the Southern District of Florida on August 16, 2018.




                                                        Laurel M. Isicoff
                                                        Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

       In re:                                              Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                  Chapter 7

                  Debtor.
       ________________________________/

                               ORDER DENYING MOTION TO RECONSIDER

                This matter came before the Court upon the 'HEWRU¶V0RWLRQWR5HFRQVLGHU (the

      ³0RWLRQ´(&)ILOHGRQ$XJXVW. The Debtor requests that the Court reconsider its

      Order Confirming There is No Automatic Stay in Effect (ECF #65).

                Based upon the record, it is

                ORDERED as follows:

                1.      The Motion is DENIED.

                2.      The Debtor previously filed Case No. 16-20959-EPK in the Bankruptcy Court for the

                     Southern District of Florida on August 8, 2016. The case was closed on October 27,

                     2017. The Debtor then filed this case on May 16, 2018. 11 U.S.C. §362(c)(3)(A) states
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                                                                                     Case No. 18-15891-BKC-LMI

             that if a debtor has two cases SHQGLQJZLWKLQD\HDUWKHDXWRPDWLFVWD\WHUPLQDWHV³RQWKH

             30th GD\RIWKHILOLQJRIWKHODWHUFDVH´6R, the automatic stay in this case expired on June

             15, 2018.

        3.       The Debtor would have had to file a motion to extend the stay and have that motion

             heard by the Court before June 15, 2018. If the Court had granted the Motion, then and

             only then would the automatic stay in this case have been extended. Because the Debtor

             did not file a timely motion to extend the automatic stay, there is no stay in effect.

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Copies furnished to:
Maurice Symonette, pro se Debtor

                          The Clerk shall serve a copy of this order upon all parties in interest.




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